                 Case 1-20-40402-jmm            Doc 53      Filed 08/26/20      Entered 08/26/20 13:46:12




                                   UNITED STATES BANKRUPTCY COURT
                                    EASTERN DISTRICT OF NEW YORK

IN RE: Jorge Miguel Prieto                                      CASE NO: 20-40402
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 11




On 5/21/2020, I did cause a copy of the following documents, described below,
Notice of Bar Date
Proof of Claim




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 5/21/2020
                                                          /s/ Norma E. Ortiz
                                                          Norma E. Ortiz 2206530
                                                          Ortiz & Ortiz LLP
                                                          32-72 Steinway St.
                                                          Astoria, NY 11103
                                                          718 522 1117
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                                        UNITED STATES BANKRUPTCY COURT
                                         EASTERN DISTRICT OF NEW YORK

 IN RE: Jorge Miguel Prieto                                             CASE NO: 20-40402

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 11




On 5/21/2020, a copy of the following documents, described below,

Notice of Bar Date
Proof of Claim




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 5/21/2020




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Norma E. Ortiz
                                                                            Ortiz & Ortiz LLP
                                                                            32-72 Steinway St.
                                                                            Astoria, NY 11103
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PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

ENHANCED RECOVERY                        INTERNAL REVENUE SERVICE                 NYS DEPT OF TAX AND FINANCE
ATTN: BANKRUPTCY                         PO BOX 7346                              BANKRUPTCY SECTION
POB 57547                                CENTRALIZED INSOLVENCY AGENCY            PO BOX 5300
JACKSONVILLE FL 32256                    PHILADELPIA PA 19101-7346                ALBANY NY 12205-0300




SHAPIRO DICARO & BARAK LLC               SPS FOR WELLS FARGO                      U.S BANK NATIONAL ASSOCIATION
175 MILE CROSSING BLVD                   ATTN: BANKRUPTCY                         4801 FREDERICA STREET
ROCHESTER NY 14624                       POB 65250                                OWENSBORO KY 42301
                                         SALT LAKE CITY UT 84165




WELLS FARGO HOME MORTGAGE                ELMHURST ASSETS LLC                      ROSA PRIETO
ATTN: WRITTEN CORRESP/BANKRUPTCY         900 GRAND STREET                         41-47 55TH ST.
POB 10335                                BROOKLYN NY 11211                        WOODSIDE NY 11377
DES MOINES IA 50306
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UNITED STATES BANKRUPTCY COURT                                                                                      2. WHAT TO FILE
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X                                                             Your filed proof of claim must conform substantially to Official Form No. 410, a copy of
In re                                                                                                               which is annexed to this Notice. Additional proof of claim forms may be obtained at
                                                                                                                    www.uscourts.gov/bkforms.
JORGE MIGUEL PRIETO,                                                 Case No. 20-40402
                                                                                                                           The proof of claim form must be signed by the claimant or, if the claimant is not an
                                                                                                                    individual, by an authorized agent of the claimant. It must be written in English and be
                                    Debtor.                          Chapter 11                                     denominated in United States currency. You must attach to your completed proof of claim any
-------------------------------------------------------------X                                                      documents on which the claim is based (if voluminous, attach a summary).

              NOTICE OF DEADLINE REQUIRING FILING OF PROOFS OF                                                              Your proof of claim form shall not contain complete social security numbers or taxpayer
                       CLAIM ON OR BEFORE JUNE 26, 2020                                                             identification numbers (only the last four digits), a complete birth date (only the year), the name
                                                                                                                    of a minor (only the minor’s initials) or a financial account number (only the last four digits of
TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST JORGE PRIETO:                                                       such financial account).

         The United States Bankruptcy Court for the Eastern District of New York has entered an                     3. WHEN AND WHERE TO FILE
Order establishing June 26, 2020 (the “Bar Date”) as the last date for each person or
entity (including individuals, partnerships, corporations, joint ventures, trusts and governmental                          Except as provided for herein, all proofs of claim must be filed so as to be received on or
units) to file a proof of claim against Jorge Prieto (the “Debtor”).                                                before June 26, 2020. Attorneys (with full access accounts) and employees of institutional
                                                                                                                    creditors (with limited access accounts) shall file proofs of claim electronically on the Court’s
        The Bar Date and the procedures set forth below for filing proofs of claim apply to all                     Case Management/Electronic Case File (“CM/ECF”) system. Those without accounts to the
claims against the Debtor that arose prior to January 22, 2020 (the “Filing Date”), the date on                     CM/ECF system shall file their proofs of claim by mailing or delivering the original proof of
which the Debtor commenced a case under chapter 11 of 11 U.S.C. §§ 101 et seq. (the                                 claim to the Court at the address provided below:
“Bankruptcy Code”), except for those holders of the claims listed in Section 4 below that are
specifically excluded from the Bar Date filing requirement.                                                                                        United States Bankruptcy Court
                                                                                                                                                     Eastern District of New York
1. WHO MUST FILE A PROOF OF CLAIM                                                                                                          Conrad B. Duberstein U.S. Bankruptcy Courthouse
                                                                                                                                                  271 Cadman Plaza East, Suite 1595
        You MUST file a proof of claim to vote on a Chapter 11 plan filed by the Debtor or to                                                         Brooklyn, NY 11201-1800
share in distributions from the Debtor’s bankruptcy estate if you have a claim that arose prior to
the Filing Date, and it is not one of the types of claim described in Section 4 below. Claims                               A proof of claim will be deemed timely filed only when received by the Bankruptcy
based on acts or omissions of the Debtor that occurred before the Filing Date must be filed on or                   Court on or before the Bar Date. A proof of claim may not be delivered by facsimile, telecopy or
prior to the Bar Date, even if such claims are not now fixed, liquidated or certain or did not                      electronic mail transmission. Governmental units may have until July 20, 2020, the date that is
mature or become fixed, liquidated or certain before the Filing Date.                                               180 days after the order for relief, to file proofs of claim.

        Under section 101(5) of the Bankruptcy Code and as used in this Notice, the word                                    A proof of claim will be deemed timely filed only when received by the Bankruptcy
“claim” means: (a) a right to payment, whether or not such right is reduced to judgment,                            Court on or before the Bar Date. A proof of claim may not be delivered by facsimile, telecopy or
liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed, undisputed, legal,                       electronic mail transmission.
equitable, secured, or unsecured; or (b) a right to an equitable remedy for breach of performance
if such breach gives rise to a right to payment, whether or not such right to an equitable remedy is                4. WHO NEEDS NOT FILE A PROOF OF CLAIM
reduced to judgment, fixed, contingent, matured, unmatured, disputed, undisputed, secured or
unsecured.                                                                                                                 You do not need to file a proof of claim on or before the Bar Date if you are:

                                                                                                                                   (a) A person or entity that has already filed a proof of claim against the Debtor in
                                                                                                                                    this case with the Clerk of the Bankruptcy Court for the Eastern District of New
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               York in a form substantially similar to Official Bankruptcy Form No. 410;                              REQUIREMENTS OF THIS ORDER, AS SET FORTH IN SECTION 4 ABOVE, AND THAT
                                                                                                                      FAILS TO TIMELY FILE A PROOF OF CLAIM IN THE APPROPRIATE FORM, WILL BE
               (b) A person or entity whose claim is listed on the Schedules of Assets and                            BARRED FROM ASSERTING ITS CLAIM AGAINST THE DEBTOR AND ITS CHAPTER
               Liabilities filed by the Debtor (collectively, the “Schedules”) [Docket Entry No.                      11 ESTATE, VOTING ON ANY PLAN OF REORGANIZATION FILED IN THIS CASE,
               15] if (i) the claim is not scheduled as “disputed,” “contingent,” or                                  AND PARTICIPATING IN ANY DISTRIBUTION IN THE DEBTOR’S CHAPTER 11 CASE
               “unliquidated” and (ii) you agree with the amount, nature and priority of the claim                    ON ACCOUNT OF THAT CLAIM.
               as set forth in the Schedules and (iii) you do not dispute that your claim is an
               obligation only of the specific Debtor against which the claim is listed in the                        7. THE DEBTOR’S SCHEDULES AND ACCESS THERETO
               Schedules;
                                                                                                                               You may be listed as the holder of a claim against the Debtor in the Debtor’s Schedules.
               (c) A holder of a claim that has already been allowed in this case by order of the                     If you agree with the nature, amount and status of your claim as listed in the Debtor’s Schedules,
               Court;                                                                                                 [and if you do not dispute that your claim is only against the Debtor specified by the Debtors,]
                                                                                                                      and if your claim is not described as “disputed,” “contingent,” or “unliquidated,” you do not need
               (d) A holder of a claim for which a different deadline for filing a proof of claim in                  to file a proof of claim. Otherwise, you must file a proof of claim before the Bar Date in
               this case has already been fixed by this Court; or                                                     accordance with the procedures set forth in this Notice.

               (e) A holder of a claim allowable under sections 503(b) and 507(a)(2) of the                                  Copies of the Debtor’s Schedules are available for inspection on the Court’s Internet
               Bankruptcy Code as an expense of administration of the Debtor’s estate.                                Website at http://www.nyeb.uscourts.gov. A login and password to the Court’s Public Access to
                                                                                                                      Electronic Court Records (“PACER”) are required to access this information and can be
        If you are a holder of an equity interest in the Debtor, you need not file a proof of interest                obtained through the PACER Service Center at http://www.pacer.psc.uscourts.gov. Copies of
with respect to the ownership of such equity interest at this time. But, if you assert a claim                        the Debtor’s Schedules may also be examined between the hours of 9:00 a.m. and 4:30 p.m.,
against the Debtor, including a claim relating to your equity interest or the purchase or sale of                     Monday through Friday at the Office of the Clerk of the Bankruptcy Court, Conrad B.
that interest you must file a proof of claim on or prior to the Bar Date in accordance with the                       Duberstein U.S. Bankruptcy Courthouse, 271 Cadman Plaza East, Brooklyn, NY 11201-1800.
procedures set forth in this Notice.                                                                                  Copies of the Debtor’s Schedules may also be obtained by written request to the Debtor’s
                                                                                                                      counsel at the address and telephone number set forth below:
        This Notice is being sent to many persons and entities that have had some relationship
with or have done business with the Debtor but may not have an unpaid claim against the Debtor.                                                               Ortiz & Ortiz LLP
                                                                                                                                                        32-72 Steinway Street, Ste. 402
       The fact that you have received this Notice does not mean that you have a claim, or that                                                           Astoria, New York 11103
the Debtor or the Court believes that you have a claim against the Debtor.                                                                                    Tel. 718.522.1117

5. EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                                                  If you are unsure about any of these matters, including whether you should file a
                                                                                                                      proof of claim, you may wish to consult an attorney.
         If you have a claim arising out of the rejection of an executory contract or unexpired lease
as to which the order authorizing such rejection is dated on or before June 26, 2020, the date of                     Dated: New Paltz, New York                           BY ORDER OF THE COURT
entry of the Bar Order, you must file a proof of claim based on such rejection on or before the                       May 19, 2020
later of the Bar Date or the date that is 30 days after the date of the order authorizing such
rejection. Any person or entity that has a claim arising from the rejection of an executory
contract or unexpired lease, as to which the order is dated after the date of entry of the Bar Order,                 Ortiz & Ortiz LLP
you must file a proof of claim with respect to such claim by the date fixed by the Court in the                       Counsel for the Debtor and Debtor in Possession
applicable order authorizing rejection of such contract or lease.                                                     32-72 Steinway Street, Ste. 402
                                                                                                                      Astoria, New York 11103
6. CONSEQUENCES OF FAILURE TO FILE A PROOF OF CLAIM BY THE BAR                                                        Tel. 718.522.1117
   DATE

       ANY HOLDER OF A CLAIM THAT IS NOT EXCEPTED FROM THE
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  Fill in this information to identify the case:

  Debtor 1          JORGE    MIGUEL PRIETO
                    __________________________________________________________________

  Debtor 2              ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________
                                          Eastern District      of __________
                                                           of New
                                                       District      York

  Case number           20-40402
                        ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                    04/19

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                         ___________________________________________________________________________________________________________
                                     Name of the current creditor (the person or entity to be paid for this claim)

                                     Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                        No
   someone else?                        Yes. From whom?         ______________________________________________________________________________________________________



3. Where should notices              Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                           different)
   creditor be sent?
                                     _____________________________________________________                       _____________________________________________________
   Federal Rule of                   Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                    ______________________________________________________                      ______________________________________________________
                                     Number      Street                                                          Number      Street

                                     ______________________________________________________                      ______________________________________________________
                                     City                       State             ZIP Code                       City                       State             ZIP Code

                                     Contact phone    ________________________                                   Contact phone   ________________________

                                     Contact email     ________________________                                  Contact email   ________________________



                                     Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                     __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend                No
   one already filed?
                                        Yes. Claim number on court claims registry (if known) ________                                Filed on   ________________________
                                                                                                                                                  MM / DD       / YYYY



5. Do you know if anyone                No
   else has filed a proof               Yes. Who made the earlier filing?           _____________________________
   of claim for this claim?




  Official Form 410                                                            Proof of Claim                                                             page 1
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:      ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                                No
                                                                                Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                       Yes.    The claim is secured by a lien on property.
                                           Nature of property:
                                              Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                              Motor vehicle
                                              Other. Describe:           _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                              Fixed
                                              Variable



10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                     Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                   Up to $3,025* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                             Wages, salaries, or commissions (up to $13,650*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                             Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                               $____________________

                                             Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                   $____________________

                                             Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                   $____________________

                                          * Amounts are subject to adjustment on 4/01/22 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                    I am the creditor’s attorney or authorized agent.
 If you file this claim           I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                          I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                              amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,        and correct.
 imprisoned for up to 5
 years, or both.
                              I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                              Executed on date _________________
                                                           MM / DD     /   YYYY




                                  8________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email         ____________________________________




 Official Form 410                                                           Proof of Claim                                                                page 3
